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                                    IN THE UNITED STATES DISTRICT COURT

                                        FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                                 )
                                                         )
         v.                                              )        CRIMINAL NO. 21-117 (TFH)
                                                         )
                                                         )
ALEX HARKRIDER, et. al.                                  )

                       UNOPPOSED MOTION TO RESET PRETRIAL MOTIONS DATE

         COMES NOW Kira Anne West, counsel for Mr. Alex Harkrider in the above captioned case, and asks this

Honorable Court to change the motions date currently set for June 2 and 3, 2022, as she is also set for pretrial motions on

the same day, June 2, in another January 6 case. Undersigned counsel states the following in support:


          During a status conference on January 21, 2022, this Honorable Court set all pretrial dates at that time. A minute

order was issued by this Court on January 27, 2022 confirming those dates. Undersigned counsel is also lead counsel in

United States v. Daniel Egtvedt, 21 CR 177 (CRC). Judge Cooper issued a pretrial order (ECF # 46) in this case on

January 26, 2022. This Court ordered on January 21, 2022, that June 2 and 3, 2022 would be set aside for a pretrial

motions hearing. This date conflicts with Judge Cooper’s order setting a motions hearing on June 2, 2022, and trial the

week of June 6, 2022. Therefore, undersigned counsel requests that the pretrial hearing in this case be moved to some time

after June 14, 2022. Undersigned counsel will be out the office on May 25-27, 2022. Undersigned counsel spoke with

AUSA Luke Jones who does not oppose this request.


                                                         Respectfully submitted,

                                                         KIRA ANNE WEST

                                               By:                /s/
                                                         Kira Anne West
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                                            CERTIFICATE OF SERVICE
        I hereby certify on the 28th day of January, 2022 a copy of same was delivered to the parties of record, by
email pursuant to the Covid standing order and the rules of the Clerk of Court.
                                                                  /S/
                                                                Kira Anne West
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